ate 09/12/07

Case 2:02-cv-00544. EVEN DRM &dHAS CHA KG ileD©9/18/07 Page 1 of 85

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30 NIFL 01-214

esearch adjoining property General

wners, schedule hearing,

repare Notice and letters BILLED: #1394

o Gregg Watt, Earl Waddell ——

nd Tribune Democrat.

ce ee ee et eee 28902 145.00 0.20s 29.00
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1 NIFL QO1-214

elephone conference with General

iloxi Orthopedic Group Re:

utstanding medical bills. BILLED: #15770

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1 NIFL 01-214

reparation time on General

orrespondence to the Ohio

orkers Compensation Board BILLED: #15770

e: coverage.

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1 NIFL 01-214

esearch re: hearings General

cheduled in this case. (52

learings.)

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1 NIFL 01-214
slephone conference with General

udy who called for Carolyn
hiver relative to fax of
caring notices; our request
or a written letter
uthorizing Leventry Law
ffice to represent National
ndoor Football League.

7/05/01

1

elephone call to Ohio
ureau of Workers'
ompensation relative to
ontinuance.

7/05/01

1

elephone conference with
eidre and Dick Stevens from
ndustrial Commission of

hio relative to request for
ontinuance.

7/05/01

1

reparation of letter to
ndustrial Commission of

hio requesting a

ontinuance of the hearings
cheduled for July 6, 9, and
0, 2001.

7/13/01

‘1

eview documentation and
nternal memorandums Re:
[TFL and RPC Arrangement.

BILLED: #15770

MJUN
NIFL 01-214
General

BILLED: #15770

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NIFL 01-214
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NIFL Q1-214
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NIFL 01-214
General

BILLED: #15770

v=variance

Page 2 of 85
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lL NIFL 01-214
2=view of airborne express General

ackage relative to hearing
>tices.

7/06/01

1

ffice preparation time to
sview information NIFL sent
Oo our office.

7/06/01

1

elephone conference with
heryl from the Industrial
ommission of Ohio to try to
scertain the status of the
ases scheduled for 7-6,

-~9, and 7-10, 2001.

elephone conference with
udy from NIFL explaining
he current status of the
ontinuance requests.
equest fax of NIFL's
ertificate for the Ohio
ureau of Worker's
ompensation.

7/06/01

1
elephone conference with
eirdre from Industrial
ommission of Ohio
concerning the continued
status of the hearings
scheduled for 7-6-01,

BILLED: #15770

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BILLED: #15770

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General

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Case 2:02-cv-00544- EVN DROU &dihA SOA KE ileH©9/18/07
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Page 3 of 85

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9 take to proceed.

Se eee ee ee ee ewes 29345

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1 NIFGL 01-214
slephone conference with General

eirdre to determine that

ne focus of the upcoming
earings are solely to
etermine whether Ohio
orkers' Compensation is
ccountable for these claims.

7/06/01

1

reparation and finalization
f fax to Industrial
ommission of Ohio that
ncluded their requested
nformation.

7/06/01

1

elephone conference with
tephanie at the Ohio Bureau
f Workers Compensation to
nquire about coverage by
hio Worker's Compensation.

7/06/01

1

elephone conference with
udy at NIFL to determine
hether NIFL has any offices
r affiliations at Ohio.

7/11/01
1
elephone conference with

BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

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NIFL 01-214
General

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MIN
NIFL 01-214
General

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General

v=variance

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Page 4 of 85

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lative to hearing BILLED: #15770
ntinuances.

ve eee et eee ees 29361

/11/01 MJN

NIFL 01-214
lephone conference with General

ssy and Carolyn Shiver
lative to the facts
icrounding the Worker's
mpensation claims, RPC
iployer Services, and the
FL's Tiltonsville, Ohio
‘fice.

/12/01

sLephone conference with
lio Bureau of Workers
mpensation Law Department
» discuss NIFL claims.

ssearch concerning
irisdiction laws for the
iio Bureau of Workers
mpensation.

1/13/01

L

2search concerning the law
1 Ohio Bureau of Worker's
mmpensation Law in Ohio.

1/13/01

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2lephone conference with
ye Ohio Bureau of Workers'

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heir procedures for
etermining jurisdiction.

Se ee ene 29374 110.00 0.60s 66.00
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1 NIFL 01-214

eview of Workers' General

ompensation appeals filed

o determine which appeals BILLED: #15770

ad been scheduled for
earing and continued, and
hich had not yet been
cheduled for hearing.

cee eee ee ee ee 29375 110.00 Q0.10s 11.00
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1 NIFL 01-214

elephone conference with General

eilrdre from the Industrial

ommission of Ohio to BILLED: #15770

etermine that they will be
ending hearing notices to
IFL relative to appeals

iled that have to date not
een scheduled for hearing.

ee ee eee eee eee ee 29376 110.00 1.00s 110.00
7/13/01 MIN 1

1 NIFL 01-214

esearch through file General

aterials to determine if

hey contained information BILLED: #15770

‘concerning representations
PC made to the NIFL as to
iow RPC could obtain Ohio

lorkers' Compensation for

IIFL employees.

ve ee eee ee ee ee 29377 110.00 0.30s 33.00
7/13/01 MIN 1

1 NIFL 01-214

'elephone conference with General

rarolyn Shiver inquiring how
PC stated they could get BILLED: #15770
ate 09/12/07 Case 2:02-cv-00549.EMEN DRWURGHASEHA KE ile@9/18/07 Page 7 of 85
ime 2:19 pm Detail Slip Listing Page 7

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>ference Client Rate

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L NIFL 01-214

aview and revise General

orrespondence from Attorney
agy to treating physicians. BILLED: #15770

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1 NIFL 01-214
evyiew of additional Notices General
F Continuance received.

BILLED: #15770

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1 NIFL 01-214

eview of additional General

ontinuance notices received.
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1 NIFL 01-214
elephone conference with General
essy from NIFL concerning
otices of Continuance the BILLED: #15770
IFL has been receiving.
wee ee ee ee eee ee 29584 110.00 0.40s 44.00
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1 NIFL 01-214
eview of Notices of General
ontinuance.
BILLED: #15770
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1 NIFL Q1-214

elephone conference with General
ate 09/12/07 Case 2:02-cv-00544.EMENDRW GHA SEHA IE ile@9/18/07 Page 8 of 85

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ommission of Ohio to
onfirm that the 'Notice of
ontinuance' just states

nat the Hearing date on

hat form has been

ontinued; notice of the
e-scheduled hearing date
i111 follow at a later time.

7/19/01

1

elephone conference with
ancy from Black Hill
urgery Center relative to

hris Evans’ unpaid medical
ills.

7/20/01

1

esearch to find an Attorney
n Ohio to assist with the
orkers' Compensation
earings.

7/23/01

1

earch to find an attorney
n Ohio to assist in
esearch relative to the
orkers' Compensation cases.

7/23/01

1

elephone conference with
ttorney Caputo relative to
PC's view on Ohio
urisdiction for Workers'
iompensation.

BILLED: #15770

MIN
NIFL 01-214
General

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BILLED: #15770

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1 NIFL 01-214

slephone conference with General

sirdre from the Industrial

ommission of Ohio relative BILLED: #15770
o the Record of Proceedings

nat we received for John

schmitt.

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1 NIFLL 01-214

elephone conference with General

ttorney Corrine Carman from

oyrs, Sater, Seymour and BILLED: #15770

ease in Columbus, Ohio
elative to search for an
hio firm to work with us on
orkers' Compensation

earings.

ee te ee ee ee 29608 110.00 0.40s
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1 NIFL 01-214

esearch to determine names General

nd claim numbers of NIFL

layers who filed appeals BILLED: #15770

ut Notice of Continuance
as not been sent.

See ee eee ee eens 29609 110.00 0.30s
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1 NIFL 01-214

elephone conference with General

ulio and Kenneth Carpenter

rom the Youngstown, Ohio BILLED: #15770

ivision of the Industrial
ommission of Ohio to
etermine why John Schmitt's
earing was held in the
oungstown office and why
ur office did not receive a
otice of hearing but
eceived the record of
roceeding.

Page 9

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L NIFL 01-214
2lephone conference with General

ve Industrial Commission
istomer Service Line to
=>termine where the appeals
lat we had not yet received
ontinuance notices on, will
2 held.

7/24/01

1

slephone conference with a
sdical care provider
mployee from Suncoast
slative to the status of
ikki Seymour's workers'
ompensation claim.

7/24/01

1

elephone conference with
esse to update her on our
onversation with Bernard
aputo; the status of John
chmitt's Hearing; and to
equest information from
IFL records.

7/24/01

1

eview of fax from the ‘NIFL.
oncerning RPC instructions
or Ohio Workers'
ompensation and a few other
orrespondences between NIFL
nd RPC.

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scription

ypeal process in Steve
schmitt's workers'
mpensation claims so we
In prepare a request to
ive the 7/17/01 decision

cated.

1/24/01
L

ssearch to determine why
sventry Law Office did not
sceive notice of the

‘17/01 John Schmitt Hearing.

}/24/01
L

reparation of request to
acate the 7/17/01
y the District Hearing
fficer concerning Steve
chmitt's workers'
ompensation claim.

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lL

slephone conference with
[FL to determine whether
ley received a notice of
paring for John Schmitt's

/17/01 Hearing.

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slephone conference with
ne Ohio Bureau of Workers’
ompensation to check the
tatus of John Schmitt's
scond claim 01-372249.

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cont.

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reparation of letter to General

opeal the disallowance of
ohn Schmitt's claim
1-372249,

7/25/01

L

=search of Ohio attorneys

> inquire as to their fees;
slephone conference with
oanne Ervin; Telephone
onference with Porter,
right, Morris and Arthur.

7/25/01

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seview of ' Notices of
earing' scheduled to
/9/01; research of the
ited Ohio Administrative
ule 4121-03-09 cited in
he hearing notices.

7/25/01

1

elephone conference with
ttorney Bernard Caputo
oncerning Dan D'Alio's
ealings with Ohio. Bureau of
orkers' Compensation.

7/25/01

1

elephone conference with
udy from NIFL concerning a
hone call the NIFL received
rom Ohio Bureau of Workers'
ompensation Marty Herf; and

BILLED: #15770

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NIFL QO1-214
General

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Page 12

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NIFL 01-214

‘fice preparation time General

mncerning information given

» NIFL by Marty Herf from BILLED: #15770

lilo Bureau of Workers'
mpensation; Telephone
mnference with NIFL

lative to the status of

1¢ information from Marty
arf; Telephone conference
th Ohio Bureau of Workers'
mpensation to reach Marty

art.

Le ee ee 29637 110.00 0.40s 44.00
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ceparation of a general General

atter addressed to medical

roviders who cared for NIFL BILLED: #15770
laimants explaining the

catus of medical bill

ayments.

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slephone conference with General

panne Ervin and Dunlevey,

ahan inquiring as to fees BILLED: #15770

or their assistance in this
orkers' compensation matter.

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[fice preparation time on General

he review of 50 notices of

earing for NIFL claimants; BILLED: #15770

eview of file information
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aimant's for whom we have
t yet received notices of

aring.
ve ee ee ee eee 29642 110.00 0.10s 11.00
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NIFL 01-214
lephone conference with General
Lena, an employee of the
dical care provider who BILLED: #15770

eated Marcus LeBlanc,
lative to the status of
s workers! compensation
aim.

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NIFL 01-214
eparation of statement of General
cts summarizing the events
ading up to the status of BILLED: #15770
e NIFL's Workers’
mpensation claims for Ohio

unsel.

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NIFL 01-214

lephone conference with General

x Blateri and Marty Herf

‘om Ohio Bureau of Workers' BILLED: #15770
mpensation relative to the

eting with Dan D'Alio and

lo jurisdiction over the

rkers' compensation claims.

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slephone conference with General

idy from NIFL to clarify

icts that were not clearly BILLED: #15770
ecified in the information

1¢ NIFL sent concerning the
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ltonsville, Ohio office.
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NIFL 01-214
lephone conference with General

ian Hall from Porter,
ight, Morris and Arthur in
io relative to research on
1o jurisdiction for

25.00 per hour, five hours
research, and due by
iday, August 3rd.

lephone conference with
ssy and Carolyn Shiver
lative to a new workers'
mpensation claim; money
at RPC may still have from
FL; and RPC's registration
; an Ohio Corporation.

/31/01

slephone conference with
acy from Sporthopedics
lysical Therapy.

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sgal research Re: RICO
Olations.

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L
2search Civil RICO Statute

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MJN
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Page 15

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te 09/12/07 Case 2:02-cv-00548;E VHIN DRYUs éaA SGHA KE Idic9/18/07 Page 16 of 85
ne 2:19 pm Detail Slip Listing Page 16

c time: s=spent u=unbillable e=estimated v=variance

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7 NIFL to Ohio Bureau of
rkers' Compensation. BILLED: #16019
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ayers who have not yet
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idgeport,

Attorney
Client
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OH office to try

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aring for Dennis Morris

scheduled to be heard
2001 in Columbus,
with the rest of the

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eparation of form to

quest continuance for

nnis Morris.

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OH Hearing

‘idgeport,

ministrator requesting a

ange of venue for the

‘ldgeport hearing.

slephone conference with

sssy relative to suits

led by. players from

irious NIFL teams;

- venue.

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3/06/01
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change

slephone conference with
clan Hall, Attorney from

orter, Wright,

Morris,

and

cthur in Ohio relative to

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Slip Listing

v=variance

BILLED: #16019

MIN
NIFL
General

01-214

BILLED: #16019

MIN

NIFL 01-214
General
BILLED: #16019
MJN

NIFL 01-214
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Case 2:02-cv-00548;E MEIN DRW & HA SCH KE ilad@9/18/07 Page 17 of 85

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Page 17

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end Attorney
the August BILLED: #16019

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elephone conference with
athy Kennedy, Hearing
dministrator from

ridgeport, Ohio
ontinuance and
enue for Dennis

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ayment for lega

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concerning
change of
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1 fees.

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IFL teams explaining the
tatus of NIFL workers’
ompensation claims; phone

onference with

Attorney

MJN
NIFL
General

01-214

BILLED: #16019

MJUN
NIFL
General

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MJUN
NIFL
General

01-214

BILLED: #16019

v=variance

Case 2:02-cv-O0548DEWENTRYrseHAS6HA K)/e9,09/18/07 Page 18 of 85
Detail Slip Listing

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Page 18

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Detail Slip Listing

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Matter

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ve ee eee eee eee eee 30051
e 8-9-01 hearings.
see ee te ee ee eee 30052

/08/01

fice preparation time to
view the C-110's received
om the NIFL to find all
aims scheduled for hearing
8-93-01, that have RPC
sted as the employer on
e C-110 and the claimants
at have NIFL listed as the
ployer to fax to Attorney
ll for the hearings.

/09/01

slephone conversation with
ylilis Childers, former
mer of the Mobile
magulls, concerning the
fatus of the workers!
mpensation suits.

sLephone conference with
cacy from Sunbelt
shabilitation concerning
1e status of Nicky
symour's suit; Telephone
mnference with Tessy from
[FL reminding them to send
if the explanatory letters
» the medical providers.

slephone conference with
=ssy relative to Kareem

cont.

MJN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

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NIFL 01-214
General

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NIFL 01-214
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Page 19

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Detail Slip Listing

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Attorney
Client Rate
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Ol hearings; any refund by
e Ohio Bureau of Workers'
mpensation; Telephone
nference with Judy Re:
funds from the Ohio Bureau
Workers’ Compensation and
presentations made to RPC.
lephone conference with
torney Brian Hall relative
the August 9, 2001
arings; Finalization of
tter to NIFL concerning

e agreement with our

fice.

fice preparation time on
e review of notices for
arings scheduled 8-27-01

Columbus; Review of the
ron Hearing
ministrator's decision
lative to our appeal in
hn Schmitt's hearing.

/13/01

eparation of letter for
mnis Morris' hearing on
15/01 in Bridgeport, Ohio
ating the NIFL is
eserving their appeal
ghts and our position.

slephone call to US
‘torney's Office Re:
fosecution of RICO Action.

cont.

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NIFL 01-214
General

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Case 2:02-cv-00544:E MEIN DRWU& dis SCHA KE iia0@9/18/07 Page 20 of 85

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Page 20

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{22/01

lephone call to US
torney John Valcosy Re:
CO Action.

/15/01

‘lephone conference with
chael Busch from Gem City
ne and Joint in Wyoming
lative to the status of
rkers' compensation
aims for Jeffrey Wray,
vin Stanley, and Nkrumah
tten.

/15/01

slephone conference with
ssy relative to bills from
FL team players; and Mr.
sventry's attendance at the
itional Conference August
-25, 2001; Review of
lling information faxed by
2SSy.

3/16/01

L

ssearch to find an attorney
> represent the Mobile;
sagulls in the suit against
1em brought by Kareem Vance

slephone conference with
idy from NIFL relative to
r. Leventry's attendance at

FBF
NIFL 01-214
General

BILLED: #16019

MJN
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General

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Case 2:02-cv-00544, EMMIN DRW& GHA SCH KE ilgd@9/18/07 Page 21 of 85
Detail Slip Listing

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ime 2:19 pm

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escription

ugust 22; names and fax
umbers of team owners;

anceled check.

reparation time on letter

Oo NIFL team owners

xplaining the status of the
orkers' compensation claims.

8/20/01
1

reparation time on letter

o Ohio Bureau of Workers!
ompensation Adjudicating
ommittee relative to NIFL's
equest for a hearing before

hem.

8/20/01
1

elephone conference with
arolyn Shiver relative to
hether the Bureau refunded
IFL premium payments;
y players against
ndividual teams;
hether NIFL made any
epresentations to RPC
elative to an Ohio Team,
ames in Ohio, and moving
he headquarters to Ohio.

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1

elephone conference with
athleen, who works for an
labama medical care
rovider for NIFL players

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Attorney
Client
Matter

cont.

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NIFL 01-214
General

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Page 22

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ne 2:19 pm Detail Slip Listing Page 23
* time: s=spent u=unbillable e=estimated v=variance

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wee ee ee eens 30254 cont.

ay for the Mobile
agulls; Preparation time
the list of players to
x to Kathleen.

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lephone conference with General
egg Albright concerning
e status of the Workers' BILLED: #16019
mpensation Hearings.
we eee et eee 30256 110.00 0.40s 44.00
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fice preparation time to General
view Records of
oceedings from the BILLED: #16019
dustrial Commission
lative to the 8-9-01
faring.
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/20/01 MIN 1
NIFL 01-214
‘eparation time on Appeal General
| the District Hearing
‘ficer's denial of Dennis BILLED: #16019

rris' claim at the 8-15-01
aring; research for

yrrect form to submit;
slephone conference with

ie Industrial Commission
slative to the correct form

» file.

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3/21/01 MJN 1

. NIFL 01-214

>lephone conference with General

(ll from the Industrial

mmission relative to BILLED: #16019

stting the hearings
ate 09/12/07 Case 2:02-cv-00548EHEVENTRYVeeHAS6 HA KIIEIO9/18/07 Page 24 of 85
ime 2:19 pm Detail Slip Listing Page 24

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ontinued with the hearings
rom 8-9-01; Telephone
onference with Lee from
Lagnostic Imaging in
snnessee relative to the
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ational meeting and

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reparation of letter to the General
ndustrial Commission Re: a

onsolidation of the BILLED: #16019
earings scheduled for

-27-O1 with the hearings

ontinued from the 8-9-01

earing.

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reparation time on letter General

o Rex Blateri requesting

11 documentation relating BILLED: #16019

Oo communications between
PC and the Bureau Re: the

IFL.

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1 NIFL 01-214

elephone conference with a General

ledical provider in Kentucky

‘concerning which player our BILLED: #16019
etter referenced.

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mnittee requesting a
aring before them.

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lephone conference with

e Industrial Commission to
termine the status of the
ses scheduled for 8-27-01;
lephone conference with
torney Hall relative to

e 8-27-01 Hearings;
lephone conference with
ssy concerning teams
nding attorneys for the
dividual suits and then
ntacting our office for

dates.

‘eparation time on faxes
ncerning suits by separate
FL players against NIFL

tter: Next Day Air charges
» Industrial Commissioner

plumbus, OH.

etter: Next Day Air charges
> Industrial Commission,
oungstown District.

Attorney
Client
Matter

cont.
BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
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Case 2:02-cv-00548;E WIEN TDR¥U& £04 SGHAKE fad 9/18/07
Detail Slip Listing

Page 25 of 85

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Page 25

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Detail Slip Listing

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separation time concerning General

2s request for a

ntinuance for John

hnmitt's 8-28-01 Hearing in
ungstown, Ohio.

{27/01

eparation time on Appeal
the 8-15-01 Hearing for
nnis Morris.

/28/01

lephone conference with
ssy and Attorney Jackson's
ceptionist relative to

hn McCorvey's suit;
lephone conference with
chael Gossman relative to
SSissippi Firedogs claims.

fice preparation time in
mpiling a list of medical
lls to forward to each

/30/01

lephone conference with
ssy to update her that I
lied Attorney Jackson
frohn McCorvey's attorney)
id left a message of our
ttlement proposal to try
id avoid a default

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

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Page 26

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torney Jackson relative to
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hn McCorvey.

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‘fice preparation time on
viewing claims for players
1 each league team.

3/30/01
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‘fice preparation time on
stters to teams explaining
1e total amount of
ompensation claims we have

yr each team.

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3/31/01
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[FL claims.

9/04/01
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elephone conference with
indy from an Alabama
edical center and with
lack Hillis Surgery Center;

Attorney
Client
Matter

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General

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NIFL 01-214
General

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General

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Page 27

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fice preparation time on
e review of the District
aring Officer's decision
hearings on August 27 and

, 2001.

lephone conference with
torney Jackson relative to
e continuance request
anted in John McCorvey's

it.

fice preparation time on
mpiling copies of player
dical information to send

NIFL teams.

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view correspondence from

‘lan Hall of Porter,

‘ight, Morris and Arthur
letter relative to

arings.

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reparation time on
yrrespondence to all team
mers Re: Workmen's

Attorney
Client
Matter

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NIFL 01-214
General

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NIFL 01-214
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v=variance

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NIFL 01-214
epare and make General
esentation at the owner's
eting in Nashville, TN BILLED: #16019
ce ee ee ee ee 30393
22/01 TCL
NEFL 01-214
shville Hotel - $189.00 SExpense Item

» Air Transportation Round

‘ip Nashville to Baltimore BILLED: #16019
$190.00

und Trip Shuttle Service

‘om Nashville Airport -

8.00

iitimore Airport parking -

6.00

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NIFL 01-214

svlew correspondence with General

yrter, Wright, Morris and

‘thur Re: August 27, 2001 BILLED: #16019

2arings.

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9/05/01 FBF

L NIFL 01-214

ssearch Re: mail fraud. General
BILLED: #16019

Le eee ee ee 30642

9/10/01 TCL

NIFL 01-214

sview Correspondence Re: General

and Sharks, specifically
ith Re: to John Schmitt and BILLED: #16019
ith Mississippi Fire Dogs

Page 29 of 85

Rate
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145.00 0.20s
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145.00 0.20s
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Page 29

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Detail Slip Listing

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scription

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fice Preparation time on
vising calculations of

ounts owed by each NIFL
am to include the newly

bmitted claims.

eparation time in
mpiling player medical
formation to send each
am for their review.

/06/01

view of additional
strict Hearing Officer
cisions issued from the

27-01 hearing.

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1/06/01

Malization of letters to
cams explaining the total

iunt of claims.

we ee ee eee eee ee 30832

1/06/01

nlephone conference with
sssy relative to the
ntinuance of McCorvey's
it and no default judgment
itered and the amount that
[FL paid to RPC for

o9rkers' compensation

Attorney
Client
Matter

cont.

MIN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

v=variance

Rate

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Page 30 of 85

Time

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Page 30

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ne 2:19 pm Detail Slip Listing Page 31

c time: s=spent usunbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
Le ee ee eee eee 30832 cont.

1d; Telephone conference
th Sondra, a medical
ovider for one of the
ssissippi Fire Dogs,
lative to the status of

e claims; Telephone
nference with Scott, the
ainer for the Land Sharks
ncerning an unpaid MRI

ll the team did not
thorize; Telephone
nference with Debra
lative to Lamonte
odbury's medical bill in
ssissippi; Telephone
nmnference with Christy from
ke Charles Memorial
lative to Marcus LeBlanc.

wee ee ee ee ee es 30836 110.00 Q.40s 44.00
1/07/01 MIN 1

. NIFL 01-214

nalization of letters to: General

‘am Owners.
BILLED: #16019

ee ce eee eee ee eee 30837 110.00 0.20s 22.00
1/07/01 MJN 1

NIFL 01-214

slephone conference with General

sssy to clarify what the

‘FL is asking us to do Re: BILLED: #16019

1e@ Kareem Vance suit.

eee eee eee twee 30842 110.00 0.20s 22.00
9/10/01 MJN 1

[ NIFL 01-214

slephone conference with General

2ssy concerning the NIFL's
allure to pay bill thus far. BILLED: #16019

Pe eee eee 30843 110.00 0.20s 22.00
9/10/01 MIN 1

L NIEL QO1-214
te 09/12/07 Case 2:02-cv-00548;E MIN PROUS GDASEHA KE 1409/18/07 Page 32 of 85
Detail Slip Listing

ne 2:19 pm

- time: s=spent u=unbillable e=estimated

te / Start Time Attorney
ference Client
scription Slip# Matter
see ee ee ee eee 30843 cont.

tter to NIFL requesting
mediate payment of our

gal fees before we can
ntinue working on the
rkers' compensation matter.

lephone conference with
ssy concerning the letter
rolyn Shiver received with
e total bill for the Bayou
ast; the amount remaining
at the NIFL owes our

fice.

1/13/01

‘fice Preparation time for
Telephone conference with
\reem Vance's Attorney in
1. attempt to resolve his
lit against the NIFL and
irolyn Shiver.

1/13/01

slephone conference with
1e@ Ohio BWC Adjudicating
mmittee Coordinator to
squest that any hearing
scheduled be scheduled
irough a phone conference.

9/13/01

L

2lephone conference with
assy concerning the facts
urrounding the Kareem Vance
awSUit against the Bayou

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

MJIN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

v=variance

Rate
Level

110.00

110.00

110.00

110.00

Time

0.30s

0.20s

0.20s

0.70s

Page 32

Total

33.00

22.00

22.00

77.00
te 09/12/07 Case 2:02-cv-00544- EMMIN PRWUS dA SEHA KE llad@9/18/07 Page 33 of 85

me 2:19 pm

r time: s=spent u=unbillable e=estimated

te / Start Time
ference
scription Slip#

Detail Slip Listing

Attorney
Client
Matter

clal security numbers of
ayers whose hearing
cisions the NIFL is
pealing.

‘eparation time on appeal
rm IC-12 to appeal from

@ decisions issued
llowing the 8-27-01 and
28-01 hearings; collection
| C-110 forms to submit

th each player's appeal
rm.

slephone conference with
torney Guerrierio's Office
slative to Kareem Vance's
lit; Telephone conference
th Tessy concerning the
catus of the Kareem Vance
rit.

9/14/01

L

2»lephone conference with
arolyn Shiver relative to
necific facts that occurred
1 the Kareem Vance Case.

9/14/01

L

inalization of Appeals from
-27-O1 and 8-28-01.

cont.

MJN
NIFL 01-214
General

BILLED: #16019

MJUN
NIFL 01-214
General

BILLED: #16019

MUN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

v=variance

Rate

Level

110.00

110.00

110.00

110.00

Time

3.00s

0.30s

0.208

0.50s

Page 33

Total

330.00

33.00

22.00

95.00
te 09/12/07 Case 2:02-cv-00548:E MIN PRWUS GA SEA KE led @9/18/07

ne 2:19 pm

Detail Slip Listing

( time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney
ference Client
scription Slip# Matter
ce eee eee 30873
/17/01 MIN

NIFL 01-214
eparation time on a cover General

tter to send to each
ayer with a copy of the
peal of the workers's
mpensation decision from
27-Ol and 8-28-01;
lephone call to Attorney
erriero's office.

fice preparation time
viewing hearing notices

x NIFL workers'

mpensation cases continued
rm 10-4-01

fice preparation time on
e review of hearing
tices for a 10-4-01
aring.

/18/01

‘lephone conference with CJ
ll, from Christus St.
brini Hospital relative to
ie next hearing date for
iristopher Lazard;
‘eparation time on letter

» CJ Hill confirming the
mtent of our discussion.

1/18/01

slephone conference with

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

MJIN
NIFL 01-214
General

110.00

110.00

110.00

110.00
1

Page 34 of 85

Time

0.20s

0.40s

0.60s

0.40s

0.50s

Page 34

Total

22.00

44.00

66.00

44.00

95.00
te 09/12/07 Case 2:02-cv-0054E-EMENDRW) RHA MCHA IE i6G9/18/07 Page 35 of 85

me 2:19 pm Detail Slip Listing Page 35
rc time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
we ee eee eee 30882 cont.

e NIFL had received a BILLED: #16019

e-trial statement from
torney Guerriero relative
. Kareem Vance, within
ven days before the
hheduled pre-trial
nference on 9-18-01;
‘eparation time on the
ireem Vance case prior to
illing the Judge's Chambers
» discuss our offer to
ttle and Attorney
lerriero's failure to
iswer our calls.

ee ee et eee 30883 110.00 0.208 22.00
1/18/01 MIN 1

. . NIFL 01-214

nalization of letters to General

layers enclosing a copy of

1e¢ NIFL's appeal of the BILLED: #16019

-27-O1 and 8-28-01 hearings.

eee ee ee ee eee 30884 110.00 0.40s 44.00
9/18/01 MJN 1

l NIFL 01-214

2lephone conference with General

“torney Guerriero and Mona

rom Judge Irving's office BILLED: #16019

2lative to the status of
areem Vance's suit.

Lee eee eee eee eens 30891 110.00 0.30s 33.00
9/19/01 MJN 1

L NIFL 01-214

2lephone conference with General

yen from USA Medical Center

1 Mobile, Alabama relative BILLED: #16019
> William James! claim;

slephone conference with

arolyn Shiver to update her

n the Kareem Vance status

onference; payments being

ent to our office from the

eague; and a form for
‘e 09/12/07 Case 2:02-cv-00548:¥ KIN DRYUS EDA SOHA KE 1agcr9/18/07 Page 36 of 85
ae 2:19 pm Detail Slip Listing Page 36

- time: s=spent u=unbillable e=estimated v=variance

ce / Start Time Attorney
ference Client Rate
scription Slip# Matter Level Time Total
we ee eee eee es 30891 cont.
x= year
vee eee ee eee eee 30892 110.00 £0.40s 44.00
/19/01 MIN 1
NIFL 01-214
lephone conference with General
nn Fourcade, a general
nager and NIFL player BILLED: #16019

lative to the status of
e Workers’ Compensation

aims.
wee eee eee eee 30893 110.00 0.20s 22.00
/19/01 MJN 1
NIFL 01-214
lephone conference with General.

e Rapid City Red dogs

neral Manager relative to BILLED: #16019
e status of the Workers'

mpensation claims.

we we ee ee eee eae 30899 110.00 0.20s 22.00
/20/01 MIN 1
NIFL 01-214
search to determine the General
stance between Attorney
ll's firm and the BILLED: #16019

idgeport, Ohio hearing for
mnis Morris; Preparation
me on letter to Carolyn
vising that the NIFL must
tain local counsel

lative to the extent of
reem Vance's injuries.

Se eee ee eee 30900 110.00 0.20s 22.00
1/20/01 MJUN 1

NIFL 01-214

‘eparation time on letter General

» RPC demanding return of

1e@ money the League paid BILLED: #16019

iem for workers'
mpensation funds.
te 09/12/07 Case 2:02-cv-00544:E MIN DRYUS Gls SES IE gd@9/18/07 Page 37 of 85

ne 2:19 pm

Detail Slip Listing

" time: s=spent u=unbillable e=estimated v=variance

Attorney
Client
Matter

te / Start Time

ference

scription Slip#t
ce ee eee eee 30901
/20/01

eparation time on letter

Wyoming Calvary relative
their rejection of the
FL's Settlement Offer.

/20/01

eparation time on letter
Judge Brenza ( the Judge
the Vance vs. Beast case)
lative to the question as
whether coverage exists

r NIFL claimants.

lephone conference with
aron Price, Adjudicating
mmittee Coordinator
lative to a phone
mference on 9-11-01.
nalization of letter to
dge Brenza who is on the
ireem Vance suit and wanted
formation relative to NIFL
verage issues.

{24/01

‘fice Preparation. time on
ie demand letter to RPC for
ney NIFL paid to RPC for
rkers' compensation
femiums; Telephone
ynference with Carolyn
liver concerning the status
- teams who are reviewing
1e@ir medical claims.

MIN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

MUN
NIFL 01-214
General

BILLED: #16019

110.00

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Time

0.20s

0.30s

0.50s

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Page 37

Total

22.00

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33.00
te 09/12/07 Case 2:02-cv-00544- EMENDRW GGHASEHA IE iid @9/18/07

ne 2:19 pm Detail Slip Listing

r time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney
ference Client
scription Slip# Matter
ee ee eee ee eee 30912

{24/01 MIN

NIFL 01-214

fice preparation time on General
tter to NIFL advising them

obtain local counsel to BILLED: #16019

ndle investigation into
tent of Vance's injuries.

wee eee ee eee 30913
(24/01 MIN

NIFL 01-214
fice Preparation time on General
FL position statement in
eu of attendance at the BILLED: #16019
26-OQ1 Hearing for Dennis
rris.
we eee ee ees 30919
1/25/01 MIN
NIFL 01-214
nalize letter in lieu of General
‘ttendance at Dennis Morris
aring. BILLED: #16019
ce ee eee 30924
1/26/01 MIN
NIFL 01-214
slephone conference with General
‘tCorney Young from Porter,
sight Morris and Arthur BILLED: #16019

nfirming her attendance at
1e¢ 10-4-01 workers'
mpensation hearings;
»lephone conference with
odd Zaborac relative to the
scoming 10-4-01 hearing in
lilo and the status of the
[FL Workers' Compensation

[aims.

ee et ee ee ee 30925

9/26/01 MJIN

L NIFL, 01-214

slephone conference with General

Rate
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110.00 0.80s
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110.00 0.608
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110.00 0.30s
1
110.00 0.60s
1

Page 38 of 85

Page 38

Total

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me 2:19 pm

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u=unbillable e=estimated

Detail Slip Listing
v=variance

Attorney
Client
Matter

Rate

ohn Avalos concerning the
catus of his workers'
ompensation claim;
2lephone conference with
ancy from Black Hills
irgery Center relative to
1é status of the Red Dog
layers football claims;
=lephone conference from
snnis Hayes of the Red Dogs
cating that they will have
response Re: the total
nount of workers'
ompensation claims soon.

9/27/01

L

slephone conference with
1eila from Sioux Falls
sdical Services to explain
ne workers' compensation
ituation; Telephone
onference with Alan Zaborac
Todd Zaborac's father)
slative to the workers'
ompensation situation.

9/28/01

1

ffice Preparation time
elative to our response
tatement of facts the Ohio
ureau of Workers'
ompensation Adjudicating
ommittee for the 10-11-01
earing.

8/01/01 - 08/30/01

1

epresentation and research
y Porter Wright Morris and
rthur, Re: Workers'

cont.
BILLED: #16019

110.00
MJN 1

NIFL 01-214
General

BILLED: #16019

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MJN 1
NIFL 01-214
General

BILLED: #16019

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NIFL 01-214 Oty

Level

Case 2:02-cv-00548E KAKENTERCY SEHASGCHA Kile €9/18/07 Page 39 of 85

Time

0.50s

0.80s

Amount

SExpense Item 1

BILLED: #16019

2957.20

Page 39

Total

55.00

88.00

2957.20
te 09/12/07
ne 2:19 pm

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re / Start Time
ference
scription

view RICO statutes;

search Re:

Carran-Ferguson Act -—- RICO
plicability to Insurance

ws Of Ohio.

gal research - review USC
case law to support
(internet

vil RICO case.
t working.)

tter: Next Day Air charges
Industrial Commission.

ee ee ee ee ee ll hh

/23/01

tter: Next Day Air charges
|The Industrial Commission

Columbus, OH.

oe © ee ew ee we ee eh wh eh el lt

/01/01

fice Preparation time on
sponse Statement of facts

» submit to the

Ijudicating Committee
lative to the 10-11-01

lone conference

Attorney
Client
Matter

cont.

FBF
NIFL 01-214
General

BILLED: #16019

FBF
NIFL 01-214
General

BILLED: #16019
DO NOT BILL

MIN
NIFL 01-214
SPostage

BILLED: #16502

MJN
NIFL 01-214
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BILLED: #16502

MJN

NIFL 01-214
General

BILLED: #16502

v=variance

Case 2:02-cv-00548:0 WiMIN PR YUS EA S OHA KF 1009/18/07
Detail Slip Listing

Page 40 of 85

Rate
Level Time
125.00 2.00s
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125.00 0.30s
1 0.30u
Oty Amount
1 12.40
Oty Amount
1 18.73
110.00 Q.30s
1

Page 40

Total

250.00

37.50

12.40

18.73

33.00
te 09/12/07 Case 2:02-cv-005445EMEN DRG 8 GHA SEA KE iien@9/18/07 Page 41 of 85

me 2:19 pm : Detail Slip Listing Page 41
c time: s=spent u=unbillable e=estimated v=variance
te / Start Time Attorney
ference Client Rate
scription Slip# Matter Level Time Total
we eee eee ee eee 31265 110.00 0.60s 66.00
/02/01 MIN 1
NIFL 01-214
fice Preparation time on General
e NIFL's position
atement to send to John BILLED: #16502
hmitt's hearing on
-18-O01.
cee ee te eee ene 31266 110.00 0.30s 33.00
/02/01 MIN 1
. NIFL 01-214
lone conference with USA General

dical Center on whether

ir office was representing BILLED: #16502
dividual team players that
ceived services from their
sdical center; Telephone
nference with Neil Harris,
1i@ Attorney for Cedar Lake
irgery Center, Open MRI,
ic., and Orthopedics., who
ive all provided medical
scvices for the Mississippi

-redogs.

eee ee ee eee 31291 110.00 0.10s 11.00
)/05/01 MIN 1

| NIFL 01-214

slephone conference with General

sdical provider for Jacobe

istin relative to the BILLED: #16502

-atus of Worker's

ompensation claims.

Le eee ee eee 2 231298 110.00 0.40s | 44,00
1/08/01 MIN 1 . |
L NIFL 01-214

inalization of response General

catement of facts for the

3-11-01 Telephone BILLED: #16502

onference with the
djudicating Committee in
nio.
te 09/12/07 Case 2:02-cv-00549-EMEN DRO & GHA S444 KF ile @9/18/07 Page 42 of 85
Detail Slip Listing

me 2:19 pm

r time: s=spent u=unbillable e=estimated

te / Start Time Attorney
‘ference Client
scription Slip# Matter
wee ee ee ee eee 31299

/08/01 MIN

NIFL 01-214
lephone conference with General

na and Shawn from NIFL to
‘y and determine when NIFL
ceived the Anthony Parker
nial from the Ohio Bureau
| Worker's Compensation;
search to determine
iether Anthony Parker had
ly prior or upcoming
rker's Compensation
sarings.

)/09/01

nalization of Response
catement of Facts for
2lephone conference with
1Lo Adjudicating Committee.

1/09/01

[L

“fice preparation time on

1@ appeal for John Schmidtt.

)/10/01

lL

inalization of letter in
leu of attendance at. John
chmitt's 10-18-01 hearing.

1/15/01

L

ailing Notice of Appeal to
[FL Players.

BILLED: #16502

MJN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MJN
NIFL 01-214
SPostage

BILLED: #16502

Vv=variance

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Level Time
110.00 0.60s
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110.00 0.20s
1
110.00 0.70s
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110.00 0.208
1
Qty Amount
54 0.57

Page 42

Total

66.00

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30.78
te 09/12/07 Case 2:02-cv-00544;EMIMIN PROUS EA S€EG74 Kg 9/18/07 Page 43 of 85
Detail Slip Listing

ne 2:19 pm

r time: s=spent u=unbillable e=estimated

te / Start Time Attorney
ference Client
scription Slip# Matter
ce ee eee 31461
/11/01 MIN

NIFL 01-214
fice preparation time for General

e phone conference with
e Adjudicating Committee
lative to workers'
mpensation coverage in

/11/01

judicating committee
aring via telephone
nference relative to issue
| worker's compensation
verage in Ohio.

{11/01

lone conference with Diane
‘om North Monroe Hospital
1 Louisiana.

)/12/01

|

1one conference with Sandra
“om Good Samaritan relative
> the status of Greg
-bright's claim; Phone
onference with Cindy from
labama Orthopedic

yncerning the status of the
orkers' Compensation Claims.

)/12/01

|

inalization of Dennis
orris' appeal relative to
is 9-26-01 hearing.

BILLED: #16502

MJN
NIFL 01-214
General

BILLED: #16502

MIJN
NIFL 01-214
General

BILLED: #16502

MJIN
NIFL 01-214
General

BILLED: #16502

MUN
NIFL 01-214
General

BILLED: #16502

v=variance

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Page 43

Total

66.00

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te 09/12/07 Case 2:02-cv-00544; EMENDRW SdH ASCHA KE iie@9/18/07 Page 44 of 85
Detail Slip Listing

ne 2:19 pm

°c time: s=spent u=unbillable e=estimated

te / Start Time Attorney
ference Client
scription Slip# Matter
we eee ee eee 31469
/12/01 MIN

NIFL 01-214
fice preparation time on General

e review of Records of
oceedings sent from the
io Bureau relative to the
-4-O01 appeal hearings.

lephone conferences with
an Zaborac relative to the
aring officer's denial of
dd Zaborac's claim; Phone
nversation with Monica

om a medical center in
nmroe relative to the

atus of the workers'
mpensation claims.

eparation and finalization
| letter explaining the
rrent status of NIFL
rkers' compensation claims
) Attorney Neil Harris,
torney for 3 medical
‘oviders in Mississippi who
ive treated NIFL players.

1/16/01

nalization of review on
mial of coverage from the
)-04-01 hearing.

feparation time on the

BILLED: #16502

MJUN
NIFL 01-214
General

BILLED: #16502

MJN
NIFL 01-214
General

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MIN
NIFL 01-214
General

BILLED: #16502

MJN
NIFL 01-214
General

v=variance

110.00

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Time

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1.30s

0.90s

Page 44

Total

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te 09/12/07 Case 2:02-cv-00548;E VIN TROUS& EDA SEMA KE ile@9/18/07 Page 45 of 85
Detail Slip Listing

ne 2:19 pm

r time: s=spent u=unbillable e=estimated

te / Start Time
ference
scription

nials of workers'
mpensation claims.

/16/01

eparation time on appeal
tter in lieu of attendance
John Schmitt's 10-26-01

aring.

nalization of appeal

tter for John Schmitt's
-18-O1 hearing with

spect to the 5-29-01
Ssallowance of his claim

id employer's failure to
ceive timely notice; phone
nference with Julio,
ie Industrial Commission
lative to the 10-18-01
‘aring and status.

eee se he we me he ee he ew

slephone conference with
spresentative from the
pid City Red Dogs relative
9 the status of Workers'
moensation claims anda
ssible time period the
tuation will take to
amedy; Office preparation
me on response letter to
-torney Neil Harris'
iquiry Re: workers'
mmpensation bills for the
sdical centers he

spresents.

Attorney
Client
Matter

cont.
BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MIJN
NIFL 01-214
General

BILLED: #16502

v=variance

Rate
Level Time
110.00 0.90s
1
110.00 1.00s
1
110.00 0.30s
1

Page 45

Total

99.00

110.00

33.00
te 09/12/07 Case 2:02-cv-00548;E MEN DRW& dA SCHA KE fad9/18/07 Page 46 of 85
Detail Slip Listing

ne 2:19 pm

- time: s=spent

te / Start Time

ference
scription

{18/01

fice preparation time on
e League's request for
peals from the 10-04-01
nial of workers’
mpensation coverage.

eparation of cover letter
Carolyn Shiver relative
their bill amount and
rter, Wright, Morris and
thur's request for
mediate payment.

ee ee we we we we eet hl he

lephone conversation with
ke Wallace with the Sioux
ty Storm because he just
ceived our team total
tter due to absence at the
fice in the off season;
lephone conference with
rry from the Ohio Bureau
Workers’ Compensation to
termine whether a PEO must
ve additional liability
surance for any of their

gligent acts.

1/19/01

‘eparation of letter to
lawn at the NIFL requesting
le social security numbers
id telephone numbers of

ich player with a hearing

1. 10-4-01 for the appeals.

u=unbillable e=estimated

Attorney
Client
Matter

MIN
NIFL 01-214
General

BILLED: #16502

MUN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

v=variance

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Page 46

Total

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te 09/12/07 Case 2:02-cv-00544-EMEN DRW Sida A SCA4FA IE ie@9/18/07 Page 47 of 85
Detail Slip Listing

me 2:19 pm

r time: s=spent u=unbillable e=estimated

te / Start Time Attorney
ference Client
scription Slip# Matter
we eee ee eee 31512
/19/01 MJN

NIFL 01-214
eparation time on General

lection of information to
tach to appeals as

‘idence that the Bureau was
ill debating whether Ohio
d jurisdiction over NIFL
aims while the Bureau
sued the certificates and
verage began.

view of refund check the
lio BWC issued the NIFL in
‘tober and research to
termine what the check was

\{/24/01

L

view of RPC's response to
[FL demand letter, Review
- contract and documents
cecuted between RPC and
[FL to determine whether
°C is entitled to the
inagement fee.

)/24/01

lL

reparation time on letter

> Carolyn Shiver with
sspect to RPC's response to
ix demand letter and
llegations with their
=sponse.

BILLED: #16502

MJN
NIFL 01-214
General

BILLED: #16502

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NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

v=variance

Rate
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Page 47

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Attorney
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lephone conference with
Lo BWC to determine what
2 10-2-01 refund check was

r and whether ROC had

posited $9,217.01 at the

io BWC for the NIFL;

lephone conference with

ndy from Alabama

thopedics relative to the

atus of NIFL workers'
mpensation claims.

eparation time on

tachment letter to IC-1

peals from the 10-4-01
aring; Telephone

nference with Deidre from
e Industrial Commission
th respect to the address

send the attachments.

nalization of additional
tachment to appeals from

-4-O1 hearing.

se ee ee ee ee ewe hee

fice time on the review of
e Adjudicating Committee's
inion from the 10-11-01

‘aring.

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MUN
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MJN
NIFL
General

BILLED:

MJN
NIFL

Slip Listing

v=variance

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01-214

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Case 2:02-cv-00548, VIN TRYUS EDA SOHA KE Hack9/18/07 Page 48 of 85

Time

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Page 48

Total

66.00

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te 09/12/07 Case 2:02-cv-00544-EMENDRW) RGHIASCHA KE ilag@9/18/07 Page 49 of 85
Detail Slip Listing

ne 2:19 pm

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te / Start Time Attorney
ference Client
scription Slip# Matter
we ee eee ee ee 31956 cont.

cision concerning John
hmitt's October 2001
aring.

/15/01

view of the Appeal of the
[judicating Committee's
‘der on October 11, 2001.

/O7/01

slephone conference with
sa Douglas from BlackHills
irgery Center concerning
aim status.

./09/01

|

feparation of letters to

SA Medical Center and
lackhills Surgery Center to
cplain the current status

- NIFL claims per their
quest.

L/O9/01

l

slephone conference with
=nise (Works for a medical
are provider) concerning
1e claim for Emmanuel
=sntley and the current
catus.

reparation time on John

BILLED: #16502

TCL
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MJN
NIFL 01-214
General

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MIN
NIFL Q1-214
General

BILLED: #16502

MIN
NIFL 01-214
General

v=variance

Rate

Level

145.00

110.00

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110.00
1

Time

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0.50s

0.20s

0.80s

Page 49

Total

29.00

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55.00

22.00

88.00
te 09/12/07 Case 2:02-cv-00548; VIN DRWU& MA SGHA KE ac9/18/07 Page 50 of 85

ne 2:19 pm

* time: s=spent u=unbillable e=estimated v=variance

Detail Slip Listing

te / Start Time Attorney
ference Client
scription Slip# Matter
we eee ee ee eee 32277 cont.

-26-Ol1 hearing; letter to
FL requesting any
formation they have on the
te they filed C-110's with
e BWC.

eparation time on appeal
BWC Adjudicating

mmittee denial of workers'
mpensation coverage.

lephone conference with

ul Goebel, a medical care
ovider for some Johnstown
Dogs to check the status
the workers’ compensation
aims.

/14/01

lephone conference with
dical care providers from
ke Charles and Mississippi
. the status of NIFL claims.

nalization of appeal for
hn Schmitt claim #
-351602

/15/01

slephone conference with

BILLED: #16502

MJN
NIFL 01-214
General

BILLED: #16502

MJUN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

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MIN
NIFL 01-214
General

BILLED: #16502

MJN
NIFL 01-214
General

Rate
Level

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Page 50

Total

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te 09/12/07 Case 2:02-cv-0054 8:80 VIN DRS HA SEHA KE 1409/18/07 Page 51 of 85

ne 2:19 pm Detail Slip Listing Page 51
c time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
ce ee ee eee ee et wees 32292 cont.

the date C-110's were BILLED: #16502

led; Response to letter
om Wyoming Cavalry's
torney.

ce eee ee ee ee eee 32296 110.00 0.30s 33.00
/16/01 MIN 1

NIFL 01-214
nalization of Appeal from General
C adjudicating Committee

cision BILLED: #16502
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/16/01 MJN 1
NIFL 01-214
lephone conference with General
chael Bush from Gem City
_workers' compensation BILLED: #16502

aim status.

wee ee ee ee ee 32303 110.00 0.20s 22.00
/19/01 MIN 1

NIFL 01-214
view of Notices of Hearing General
yr 12-10-01

BILLED: #16502

cee eee eee eee 32307 110.00 0.30s 33.00
/19/01 MJN 1

NIFL 01-214

nmalization of compensation General

aim status letters to 2

dical providers. BILLED: #16502

eee eee eee 32308 110.00 0.80s 88.00
{19/01 MJIN 1

L NIFL 01-214

feparation time on letter General

1 lieu of attendance for

ich Mathers claim on BILLED: #16502

.- 29-01.
te 09/12/07 Case 2:02-cv-005445EMEN DRW& GA SCHA KE iiad@ 9/18/07
ne 2:19 pm Detail Slip Listing

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te / Start Time Attorney

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scription Slip# Matter Level
Cee eee ee eee nee 32312 110.00
/20/01 MIN 1

NIFL 01-214
view of Notices of Hearing General
r 53 hearings scheduled
xr 12-10-01; Telephone BILLED: #16502
nference with Stacey from
orthopedics and a Monroe
dical provider relative to
aim status.

we ee eee 32317 110.00

/26/01 MIN 1
NIFL 01-214

eparation of documents to General

x Attorney Jung for

-10-01 hearings. BILLED: #16502

ce ee ee ee ee 32318 110.00

/26/01 MIN 1

NIFL 01-214

‘lephone conference with General

torney Jung and letter to
nfirm she will attend the BILLED: #16502
'-10-O1 hearings.

Se eee ee eee eee 32319 110.00
26/01 MIN 1
NIFL 01-214

‘eparation and finalization General

- follow up demand letter

» RPC. BILLED: #16502
Le ee een ee ee eee ee 32320 110.00
{26/01 MIN 1
NIFL 01-214

reparation and finalization General

- letter on additional

yidence of refund for BILLED: #16502
ypeal hearings from 8-27-01

narings.

Page 52 of 85

Time

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Page 52

Total

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te 09/12/07

Case 2:02-cv-00548:E VMN DRW 8 dia SEMA KE ie @9/18/07

Page 53 of 85

ne 2:19 pm Detail Slip Listing
c time: s=spent u=unbillable e=estimated v=variance
te / Start Time Attorney
ference Client Rate
scription Slip# Matter Level Time
we ee eee 32321 110.00 0.40s
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dition to John Schmitt General
peal from the October 2001
aring. BILLED: #16502
cee ee ees 32326 110.00 0.308
/28/01 MIN 1
NIFL Q1-214
tter to NIFL Re: payment General
Porter, Wright.
BILLED: #16502
we ee ee es 32331 110.00 0.20s
/29/01 MIN 1
NIFL 01-214
nalization of letter to General
torney Barbe, attorney for
ie Wyoming Calvalry. BILLED: #16502
we ee ee ee eee 32332 110.00 0.50s
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NIFL 01-214
slephone conference with General
irolyn on the status of RPC
lit and offer possible BILLED: #16502
sttlement to vendors;
nalization of updates on
‘27-01 appeals and letter
» Carolyn explaining the
me.
ee ee ees 32387
)/30/01 MIN
L NIFL 01-214 Oty Amount
woice from Porter, Wright, SExpense Item 1 219.76
orris & Arthur Re: Services
andered Re: Worker's BILLED: #16502

ompensation issue thru
saptember 30, 2001 Copy
ctached.

Page 53

Total

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te 09/12/07
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ee ee ee ee ee ee eae 32388
{29/01

voice from Porter, Wright,
rris & Arthur Re: Services
ndered Re: Worker's
moensation issue thru
tober 31, 2001. Copy
tached.

lephone conference with
n Caro on the status of
ckers' Compensation.

eparation of letter to
rolyn on a settlement
fer.

lephone conference with
in Caro; telephone
nference with Renee from
hn Schmitt's medical
‘ovider; Preparation of
cuments requested during
1e telephone conferences.

-/O5/01

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2lephone conference with
larles Price (medical
rovider); and
spresentative for the Red
»gs on the status of NIFL
laims.

MJN
NIFL O1-214
SExpense Item

BILLED: #16502

MIN
NIFL
General

01-214

BILLED: #16809

MJIN
NIFL
General

01-214

BILLED: #16809

MIN
NIFL
General

01-214

BILLED: #16809

MJUN
NIFL
General

01-214

BILLED: #16809

v=variance

Case 2:02-cv-00544EMENDRWU& 4A SCHA KF ilad@9/18/07
Detail Slip Listing

Page 54 of 85

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Page 54

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Detail Slip Listing

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ference Client
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/07/01 MJN

NIFL 01-214
eparation time on response General

tter to John Schmitt's
quiries.

/07/01

lephone conference with
torney Andrew Burrell from
ssissippi, the Attorney

r Nicky Seymour and

anuel Bentley; telephone
nference with Mississippi
dical Provider on the
atus.

lephone conference with
ndy from Alabama
‘thopedics on the status.

/13/01

‘eparation time on Zach
ithers appeal from the
—29-01 decision; telephone
nference with Shawn on the
ites of the 2001 season and
yment of Porter, Wright
ll.

-/13/01

L

2lephone conference with
-eve Odham, Mississippi

i\redogs General Manager.

BILLED: #16809

MJN
NIFL 01-214
General

BILLED: #16809

MJN
NIFL 01-214
General

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NIFL 01-214
General

BILLED: #16809

MIN
NIFL 01-214
General

BILLED: #16809

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Page 55 of 85

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Page 55

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Attorney
Client
Matter

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/14/01

lephone conference with
ane from Monroe, Louisiana
the status of NIFL.

lephone conference with
ndy from Alabama

thopedics on the status of
FL claims; Lori from
d-State Orthopedics; and
oux City Center.

/20/01

view of Record of
‘oceedings from 12-10-01
carings.

/21/01

view of Agreement between
°C and NIFL and facts
lIrrounding signing of their
mntract.

2/26/01

[

sview of three Records of
coceedings from the
2/10/01 Hearing;
reparation of letter to
[FL confirming our receipt
F their check for Porter.

MJN
NIFL 01-214
General

BILLED: #16809

MJUN
NIFL 01-214
General

BILLED: #16809

MIN
NIFL 01-214
Workers Comp.

BILLED: #16809

MUN
NIFL 01-214
General

BILLED: #16809

MJN
NIFL 01-214
General

BILLED: #16809

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Page 56 of 85

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ne 2:19 pm Detail Slip Listing Page 57
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mee ee eee eee 33054 110.00 0.30s 33.00
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sparation time on letter General
Carolyn Shiver Re: the
cisions from 12-10-01 BILLED: #16809

arings and decision to
op further appeals.

cee et ee eee eee 33070 110.00 0.30s 33.00
/02/02 MIJN 1
NIFL 01-214
lephone conference with General
you Beast medical provider
status of NIFL claims. BILLED: #16809
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/03/02 MJN 1
NIFL 01-214
eparation time for General
judicating Committee
lephone conference. BILLED: #16809
we ee eee eee 33074 110.00 0.50s 55.00
/03/02 MIN 1
NIFL 01-214
lephone conference with General
e Bureau Adjudicating
mmittee. BILLED: #16809
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/04/02 MIN 1
NIFL 01-214
lephone conference with General
e radiology center on the
atus of claims. BILLED: #16809
ce eee ee ee ee teens 33092 110.00 0.20s 22.00
/07/02 MIN 1
NIFL 01-214
nalization of letter General

plaining hearing officer's
nmial of coverage. BILLED: #16809
te 09/12/07 Case 2:02-cv-005445EMENDRWW dd ASCOHA KE ien@9/18/07 Page 58 of 85
Detail Slip Listing

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r time: s=spent u=unbillable e=estimated ‘v=variance

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scription

lephone conference with

hn Schmitt, J-Dogs Player
da medical provider for
i-City Diesel Re:

| NIFL claims.

{11/02

‘eparation time on Zach

ithers Appeal.

/15/02

reparation time on letter

») Shiver explaining
ljudicating Committee
saring; Telephone

onference with Tri-City
.esel and Gem City, Medical
froviders, on NIFL claim
catus, letter to NIFL Re:

ayment.

L/17/02
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inalization of letter to

liver on 1~-3-02

ijudicating Committee
s=lephone conference.

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slephone conference with
lawn on current status of

[FL claims.

Attorney
Client
Matter

MIN
NIFL 01-214
General

BILLED: #16809

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General

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MJN
NIFL 01-214
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NIFL 01-214
General

BILLED: #16809

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Page 58

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ne 2:19 pm Detail Slip Listing Page 59
- time: s=spent u=unbillable e=estimated v=variance
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/11/02 MIN
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tter: Next Day Air charge $Postage 1 14.11 14.11

Industrial Commission.
BILLED: #16809

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NIFL 01-214
lephone conference with General
rolyn Shiver on her
oposal to vendors for a BILLED: #16809
ttlement.
wee eee ee eee eee 33543 110.00 0.30s 33.00
{29/02 MJN 1
NIFL 01-214
eparation time on letter General
| Theresa from Walnut
diology on the status of BILLED: #16809

Dog workers compensation
aims; Telephone conference
th Sheri from Billings

tlaws.

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NIFL 01-214

lephone conference with General

dical Provider for Sioux

ty Falls on status of BILLED: #16809

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yrter Wright Morris and SExpense Item 1 272.63 272.63

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ited December 10, 2001 See BILLED: #16809
-tached.
te 09/12/07 Case 2:02-cv-00548-EMEN PRWU& GA SESH KE iie@9/18/07 Page 60 of 85

ne 2:19 pm Detail Slip Listing Page 60
r time: s=spent u=unbillable e=estimated v=variance
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ference Client Rate
scription Slip# Matter Level Time Total
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/20/02 MIN

NIFL 01-214 Oty Amount
rter Wright Morris and SExpense Item 1 534.49 534.49
thur invoice # 684160
ted January 18, 2002 See BILLED: #16809
tached.
Se ee tee wees 33626 145.00 0.20s 29.00
/01/02 TCL 1

NIFL 01-214
rrespondence with Carolyn Workers Comp.
river Re: RPC Claim.

BILLED: #16989

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14/02 FBF 1

, NIFL 01-214

seting with Attorney Workers Comp.

ventry and Attorney Nagy;

‘eting with Attorney Nagy BILLED: #16989

©: filing Federal Complaint.

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/22/02 FBE 1

NIFL 01-214
ssearch Civil RICO Cause of Workers Comp.
‘tion and case law Re:

ittern of racketeering BILLED: #16989

tivity.

eee ee ee ee eee 34013 125.00 2.60s 325.00
2/22/02 FBF 1

. NIFL 01-214

search standing, Workers Comp.

ivisdiction; venue;

lements of Civil RICO for BILLED: #16989

sderal Complaint; Research
110 Law Re: statute of
imitations on claim against
cate agency; research
svereign Immunity Issues;
esearch Notice to
Inicipality - Ohio Law.
te 09/12/07 Case 2:02-cv-00544,E MEIN DRY & dHASCHA KE 1dd@9/18/07 Page 61 of 85

ne 2:19 pm Detail Slip Listing Page 61
¢ time: s=spent u=unbillable e=estimated v=variance
te / Start Time Attorney
ference Client Rate
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Se eee eee eee 34066 125.00 0.10s 12.50
/01/02 FBE 1
NIFL 01-214
scussion of Venue and General
risdiction issues with
torney Nagy. BILLED: #16989
ce ee ee eee 34174 110.00 0.10s 11.00
/06/02 MIN 1
NIFL 01-214
nversation with Alabama General
thopedics on status of
FL. BILLED: #16989
we ee eee ee 34178 110.00 0.40s 44.00
/07/02 MIN 1
NIFL 01-214
lephone conference with General
Green, Sioux City Player
d with medical provider BILLED: #16989

r Sioux City and Gem City
ne & Joint on status of
rkers' compensation claims.

Le ee eee ee eee eee 34179 110.00 0.208 22.00
/07/02 MIN 1
NIFL 01-214
eparation time on letter General
. Shiver Re: Deadline for
C filing. BILLED: #16989
Se eee eee ee eee eee 34191 110.00 0.20s 22.00
/11/02 . MJN 1
_ NIFL 01-214
slephone conference with General

liver Re: payment of bill
id retainer and filing RPC BILLED: #16989

iit.

we ee eee eee 34192 110.00 0.20s 22.00
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NIFL 01-214

reparation time on letter General

>» Shiver confirming
te 09/12/07 Case 2:02-cv-00549:EMMN DRWU& GA SEHA KE ile @9/18/07 Page 62 of 85
Detail Slip Listing

ne 2:19 pm

r time: s=spent u=unbillable e=estimated

te / Start Time
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/11/02

lephone conference with
rk from North Monroe
spital and player Dan
ro, on status of Workers'
mpensation claims.

lephone conference with
eri from the Billings
ttlaws Re: status of

rkers compensation claims.

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/14/02

‘eparation of documents to
nd to Billings Outlaws per
le@lr request; telephone
nversation with Zaborac

>: Status of claims.

2/14/02
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mnference with Attorney
sventry and Attorney
y9rdham on RPC suit.

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fceparation time on suit

jainst RPC

Attorney
Client
Matter

cont.

MIN
NIFL 01-214
General

BILLED: #16989

MIJN
NIFL 01-214
General

BILLED: #16989

MJN
NIFL Q1-214
General

BILLED: #16989

MJN
NIFL 01-214
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General

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Page 62

Total

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ne 2:19 pm Detail Slip Listing Page 63
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se wee ee ee ee wees 34253 110.00 0.80s 88.00
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NIFL 01-214
search re: venue, statute General
limitations.
BILLED: #16989
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/18/02 MIN 1
NIFL 01-214
search in false pretenses General
ses in Workers'
mpensation. BILLED: #16989
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/18/02 MIN 1
NIFL 01-214
search on RICO. General
BILLED: #16989
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/19/02 MJN 1
NIFL 01-214
search on RICO General
BILLED: #16989
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NIFL 01-214
lephone conference with General
oux City Medical provider
status of NIFL claims. BILLED: #16989
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/20/02 MIN 1
. NIFL 01-214
‘eparation time on filing General

mplaint against RPC.

BILLED: #16989

te 09/12/07 Case 2:02-cv-00544-EMMIN PRU S GHA SCAFA KE iled@9/18/07 Page 64 of 85
ne 2:19 pm Detail Slip Listing Page 64

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wee eee eee ene 34270 110.00 0.50s 55.00
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. NIFL 01-214
search on RICO. General

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nference with Attorney General

rdham on RICO and NIFL.
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{21/02 MJN 1

NIFL 01-214

slephone conference with General

torney Rafferty on Statute
' Limitations and Tina from BILLED: #16989
FL Re: status of RPC suit.

cw ee ee we ee es 34287 110.00 0.50s 55.00
/21/02 MJN 1

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search on commencement of General

lit provisions.
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L NIFL 01-214

‘eparation of timeline of General

scurrences in workers'

mpensation case. BILLED: #16989

ec we eee ee ee eee 34289 110.00 1.40s 154.00
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l NIFL 01-214

=search on RICO claim for General

oC 6suit.

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* time: s=spent u=unbillable e=estimated v=variance
te / Start Time Attorney
ference Client Rate
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/25/02 MIN 1

NIFL 01-214
search on standing. General

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{26/02 MIN 1

NIFL 01-214
search to determine if General
FL is bound by venue
ause in RPC contract. BILLED: #16989
ee ee ee tee ee ee 34307 110.00 0.80s 88.00
/27/02 MIN 1

NIFL 01-214
search on venue clause. General

BILLED: #16989
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{28/02 | MIN 1

NIFL 01-214
search on venue. General

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ee ee ee ee eee eee 34325 110.00 1.10s 121.00
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NIFL 01-214
view of case law Re: venue General
d forum selection clauses.

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lephone conference with
ndy at Alabama Orthopedics
d Dennis from Bull Dogs

status.

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/05/02

nference with Attorney
ventry Re: venue and forum

lection clause.

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slephone conference with

irolyn Shiver Re:

Cc suit.

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Status of

omnference with Attorney
sventry Re: Venue and where

>) file suit.

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onference with Attorney
ordham Re: Preparation of
omplaint against RPC,

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slephone conference with
ctorney for Sioux Fall Re:

Latus of NIFL.

MIN
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General

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Case 2:02-cv-0054&- EMEN DRW 8 dH ASCH KE lict@9/18/07 Page 66 of 85

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ference Client Rate
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Se ee eee eee eee 34393 110.00 0.20s 22.00
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NIFL 01-214
lephone conference with General
torney Young from Porter,
ight Re: RPC. BILLED: #16989
we eee 34394 110.00 0.60s 66.00
/11/02 MIN 1
NIFL 01-214
eparation time on General
atement of facts for NIFL
RPC suit. BILLED: #16989
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NIFL 01-214
lephone conference with General

od Samaritan Medical
ovider; and with Open MRI BILLED: #16989
Status of NIFL claims.

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NIFL 01-214
search re: whether parties General
ree to change venue
spite a forum selection BILLED: #16989
ause, can the district
urt enforce a forum
lection clause on its own.

we ee ee eee eee 34401 110.00 0.20s 22.00
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NIFL - 01-214

‘lephone conference with General

torney Brian Hall Re:

Sisting in NIFL vs. RPC. BILLED: #16989

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/ NIFL 01-214
nalization of statement of General
icts for RPC.
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Detail Slip Listing

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Attorney
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{13/02

nference with attorney
rdham Re: NIFL vs. RPC.

/13/02

search on exact court in
ich NIFL must file against
Cc; Telephone conference

th Clerk of Courts; and
search on Local Rules.

search re: Nuances of
umbull County District
uurt Judges.

3/13/02

‘eparation time on letter
» Attorney Hall at Porter
2: RPC suit.

slephone conference with
yscth Monroe Hospital Re:
-atus of Claims.

3/18/02
L
onference with Attorneys

cont.

MJN
NIFL 01-214
General

BILLED: #16989

MJN
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General

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NIFL 01-214
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Page 68

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Detail Slip Listing

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NIFL 01-214

lephone conference with
ndy at Black Hills
thopedic; Telephone
nference with Carolyn Re:
atus.

eparation time on e-mail
Attorney Weber at Porter,
ight Re: status of RPC
it; Telephone conference
th Black Hills Orthopedic
: Status of Suit.

/20/02

search on US District
urt for the Western
strict Forms to submit
th Complaint; Review of
mplaint against RPC and
iount in legal bills NIFL
iS paid.

3/20/02

slephone conference with
‘FL Re: filing and county
1ie@ir headquarters is in and
xntal of medical bills to
lis point.

General

BILLED: #16989

MJN
NIFL 01-214
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Page 69

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r time: s=spent u=unbillable e=estimated v=variance
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ference Client Rate
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NIFL 01-214
lephone conference with General
chelle Carison from
ntana Re: Montana claims. BILLED: #16989
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/14/02 FBE 1

NIFL 01-214
view of file and General

cuments; Review RPC

nmtract; Legal Research Re: BILLED: #16989
nue, Jurisdiction; Ohio

ate Law Causes of Action;

view Rules and Admission

‘ocedure to Federal Court,

rthern District of Ohio.

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/15/02 FBF 1

. NIFL 01-214
search at the Blair County Workers Comp.
urthouse Re: Federal Law

cketeering Threshold. BILLED: #16989 .

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NIFL 01-214

slLephone conference with Workers Comp.

srnie Caputto Re:

ieisdiction of Western BILLED: #16989

strict vs. Ohio
irisdiction of Federal

urt.

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L NIFL 01-214

slephone conference with General

1e Montana Bureau State

ind of Workers' BILLED: #16989

mmpensation Re: lawsuit
jJainst RPC.
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{28/02

Attorney
Client
Matter

lephone conference with
A Medical Center Re:
atus of NIFL claims.

/28/02

eparation time on master

st from NIFL Re:

ayers injured.

all

eting with Attorney
ventry and Attorney Nagy
venue - coordinating

th an Ohio Firm.

epare draft of federal
mplaint; Review and revise
aft; add counts of Breach
Contract, and fraud;

view correspondence from

torney Caputo Re:

consent

. venue; research Federal
strict Court Jurisdiction
d venue statutes in United

ates Code.

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3/19/02

view and revise Draft of

sderal Complaint.

MUN
NIFL 01-214
General

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Case 2:02-cv-00548;EWIKIN DRWUS 4A SEHA KE ¥g0(99/18/07 Page 71 of 85
Detail Slip Listing

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Page 71

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vise Federal Complaint; General

mplete District Court

ling documents ~ ie Civil BILLED: #16989
ver Sheet; Waiver of

rvice of Summons, etc.

lepnone call to clerk Re:

ling in Johnstown for

ttsburgh case.

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NIFL 01-214
nalize Complaint; File at General
strict Court Clerk's
fice, Johnstown; BILLED: #16989
rrespondence to client;
krrespondence to Attorney
puto Re: Waiver of
mmons' Notice of Lawsuit.

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‘eparation time on response General
» Court request for RICO

ise statement. BILLED: #17556

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NIFL 01-214

‘eparation time on RICO General

ise statement Court

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slephone conference with General

-torney from Wyoming Re:

-atus of workers' BILLED: #17556

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lephone conference with
chelle Carlson from

ntana State Dept.

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Re:

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lephone conference with
torney Voigt, Attorney for

i-City Diesel medical

ovider.

eparation time on

rrespondence to Nebraska
dical provider's attorney
status of claims and RPC

it and telephone

mference with Blackhills

thopedic Re: the same.

eparation time on response
» Federal Court's questions.

slephone conference with
irney Imaging Center,

sbraska; telephone
mnference with Carolyn

liver Re: RICO Case

-atement.

MIJN
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Case 2:02-cv-00548;E WIN PRWUS GHA SEMA KE te ©@9/18/07
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Page 73 of 85

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Detail Slip Listing

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separation time on RICO
se statement for Court.

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lephone conference with
uisville Medical Provider
status of compensation
aims and with Carolyn
iver Re: Status of RPC

lephone conference with -
xrge from USA Medical
nter Re: Status of NIFL

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mference with Attorney
srdham Re: Amended

Attorney
Client
Matter

MJN
NIFL 01-214
General

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view of Amended complaint General
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mnference with Carolyn BILLED: #17556

iver Re: Dan D'Alio

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view of correspondence Re: General

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2: Robert Hulett.

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sview Order from Judge General

norose Re: filing of RICO

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| NIFL 01-214

sview and revise NIFL RICO Workers Comp.
catement for filing; Legal

2search conspiracy COA BILLED: #17556
yder Section 1962 (d);

=search liability under

962 (c); Review of

omplaint and proposed

nanges and amendments.
e 09/12/07 Case 2:02-cv-005485 WIKIN PR YWUS 4A S$ GHA KE Iac@9/18/07 Page 76 of 85

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Detail Slip Listing

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scription Slip# Matter
Se ee ee ee eee 35390
(22/02 FE BF
NIFL 01-214
RPC Employer Services- General

rk on preparing amended
nplaint

{25/02

rk on Amended Complaint;
view Rules for Service and
endment of Complaint

fore Answer is served

RICO matter- Final
visions to amended
mplaint; Telephone call to
torney Caputo Re: D'Alio
ceptance of service (left
ssage)

Worker's Comp. matter-
nalize Complaint;
lephone call to/from
torney Caputo Re:
ceptance of Service;
search Corporate
mspiracy case law to
termine if R.P.C. Employer
rvices can be held liable
der conspiracy court with
n D'Alio

>: RICO matter- File
ended Complaint with U.S.

BILLED: #17556

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General

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Page 76

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Attorney
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Matter

Worker's Compensation-

epare correspondence;

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epare correspondence to
erk of District Court Re:
ling of Waiver of Summons

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-lephone conference with
presentative from Montana

ate Fund Re: status of

rkers' Compensation claims

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slephone conference to
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sven (7) Medical Offices

>: Status of case

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slephone conference with

lawn Re: errors and

nissions insurance for RPC

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Case 2:02-cv-005445EMEIN PRWUG GIA S€544 KE IE@9/18/07 Page 77 of 85
Detail Slip Listing

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General
Correspondence

Court and

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Page 78 of 85

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